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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-03-0401 WBS KJM P

12           vs.

13   LEE ROY TREVINO,

14                  Movant.                        ORDER

15                                          /

16                  In light of the stipulation filed by the parties on October 6, 2008, petitioner’s

17   application for writ of habeas corpus under 28 U.S.C. § 2255 is dismissed and the Clerk of the

18   Court is directed to close the companion civil case CIV S-07-2533 WBS KJM.

19   DATED: October 10, 2008.

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